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 1   Jeffrey L. Kessler (pro hac vice)
     jkessler@winston.com
 2   David G. Feher (pro hac vice)
     dfeher@winston.com
 3   WINSTON & STRAWN LLP
     200 Park Avenue
 4   New York, New York 10166
     Telephone: (212) 294- 6700
 5   Facsimile: (212) 294-4700
 6   Cardelle B. Spangler (pro hac vice)
     cspangler@winston.com
 7   WINSTON & STRAWN LLP
     35 West Wacker Drive
 8   Chicago, Illinois 60601
     Telephone: (312) 558-5600
 9   Facsimile: (312) 558-5700                   Ellen E. McLaughlin (pro hac vice)
                                                 emclaughlin@seyfarth.com
10   Diana Hughes Leiden (SBN: 267606)           Cheryl A. Luce (pro hac vice)
     dhleiden@winston.com                        cluce@seyfarth.com
11   WINSTON & STRAWN LLP                        SEYFARTH SHAW LLP
     333 South Grand Avenue, 38th Floor          233 S. Wacker Drive, Suite 8000
12   Los Angeles, California 90071-1543          Chicago, Illinois 60606
     Telephone: (213) 615-1700                   Telephone: (312) 460-5000
13   Facsimile: (213) 615-1750                   Facsimile: (312) 460-7000
14   Jeanifer E. Parsigian (SBN: 289001)         Kristin M. Peters (SBN 252296)
     jparsigian@winston.com                      kpeters@seyfarth.com
15   WINSTON & STRAWN LLP                        SEYFARTH SHAW LLP
     101 California St., 35th Floor              2029 Century Park East, Suite 3500
16   San Francisco, California 94111             Los Angeles, California 90067-3021
     Telephone: (415) 591-1000                   Telephone: (310) 277-7200
17   Facsimile: (415) 591-1400                   Facsimile: (310) 277-5219
18   Attorneys for Plaintiffs                    Attorneys for Defendant
19
                          UNITED STATES DISTRICT COURT
20
           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
21
     ALEX MORGAN, et al.,                        Case No. 2:19-cv-01717-RGK-AGR
22
                  Plaintiffs/Claimants,          Assigned to: Judge R. Gary Klausner
23
           vs.                                   JOINT RULE 26(f) REPORT
24
     UNITED STATES SOCCER                        Complaint filed: March 8, 2019
25   FEDERATION, INC.,
                                                 Scheduling Conference: Aug. 19, 2019
26                Defendant/Respondent.          Time: 9:00 a.m.
                                                 Place: Courtroom 850
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 1         Plaintiffs and the United States Soccer Federation, Inc. (“U.S. Soccer,” with
 2   Plaintiffs, the “Parties”) hereby submit the following Joint Rule 26(f) Report. The
 3   Parties held their Rule 26(f) conference on July 26, 2019.
 4   I.    Summary of the Case
 5         A.     Plaintiffs’ Statement
 6         U.S. Soccer is the single, common employer of female and male professional
 7   soccer players who play on the United States Senior Women’s National Soccer Team
 8   (“USWNT”) and the United States Senior Men’s National Soccer Team (“USMNT”).
 9   Despite the fact that these female and male players are called upon to perform the same
10   job responsibilities on their teams and participate in international competitions for their
11   common employer, the female players have been consistently paid less money than their
12   male counterparts and have been otherwise denied equal treatment. This is true even
13   though their performance has been superior to that of the male players—with the female
14   players, in contrast to male players, becoming world champions four times over.
15         This collective and class action is brought by current female employees of U.S.
16   Soccer who play on the USWNT for violations of the Equal Pay Act, 29 U.S.C. § 206(d)
17   et seq. (EPA), and Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
18   2000e et seq., on behalf of themselves and all other similarly situated current and former
19   USWNT players who U.S. Soccer has subjected to its continuing policies and practices
20   of gender discrimination. U.S. Soccer discriminates against Plaintiffs, and the class that
21   they seek to represent, by paying them less than members of the USMNT for
22   substantially equal work and by denying them at least equal playing, training, and travel
23   conditions; equal promotion of their games; equal support and development for their
24   games; and other terms and conditions of employment equal to the USMNT.
25         B.     U.S. Soccer’s Statement
26         Plaintiffs’ claims for violations of the EPA and Title VII are without any basis in
27   law or fact. Plaintiffs’ claims fail because the USWNT and USMNT do not play soccer
28   in the “same establishment” under the EPA or Title VII and play soccer at different
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 1   times, in different locations, against different opponents, and are comprised of athletes
 2   who have different obligations, are compensated in fundamentally different ways, and
 3   enjoy different benefits. The USWNT and USMNT organized into separate players’
 4   associations and negotiated separate collective bargaining agreements governing their
 5   compensation and terms and conditions of employment. Under those agreements, the
 6   USMNT players are paid in the form of high-risk, high-reward match appearance fees,
 7   while the USWNT negotiated low-risk guaranteed salaries and benefits. Even if the
 8   USWNT and USMNT players were comparable under the EPA and Title VII as a matter
 9   of law (which they are not), any pay differential is attributable to factors other than sex,
10   including their different bargaining priorities and preferences and different revenue
11   generation. Additionally, many USWNT players earn more than USMNT players and
12   have no claim for relief under the EPA or Title VII. Regarding Plaintiffs’ other claims
13   arising under Title VII, USWNT players are not subject to different terms and
14   conditions of employment, and any differential treatment is not sex discrimination
15   actionable under Title VII.
16   II.   Dispositive Motion Practice
17         A.     Plaintiffs’ Statement
18         Plaintiffs reserve the right to file a motion for summary judgment or other
19   dispositive motion following the close of discovery.
20         B.     U.S. Soccer’s Statement
21         Defendant reserves the right to file a motion for summary judgment or other
22   dispositive motion following the close of discovery.
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 1   III.   Discovery Plan and Case Schedule
 2          A.    Case Schedule
 3          Plaintiffs propose the following discovery and case schedule (subject to
 4   amendment in the future if needed):
 5                              Discovery Plan & Case Schedule
 6                           Item                                Deadline
      Exchange initial disclosures                            August 19, 2019
 7    Fact discovery cut-off                                 February 28, 2020
 8    Expert reports due                                       March 30, 2020
      Expert oppositions due                                   April 29, 2020
 9    Expert replies due                                       May 29, 2020
      Expert discovery cut-off                                 June 12, 2020
10
      Dispositive motion filing cut-off date                    July , 2020
11    Final pre-trial conference                             October 21, 2020
      Trial                                                 November 11, 2020
12
            U.S. Soccer proposes the following discovery and case schedule (subject to
13
     amendment in the future if needed):
14
15                              Discovery Plan & Case Schedule
                             Item                                 Deadline
16    Exchange initial disclosures                            August 19, 2019
      Fact discovery cut-off                                   March 27, 2020
17
      Expert reports due                                       April 30, 2020
18    Expert oppositions due                                   May 29, 2020
      Expert replies due                                       June 30, 2020
19    Expert discovery cut-off                                  July17, 2020
20    Dispositive motion filing cut-off date                  August 11, 2020
      Final pre-trial conference                            November 20, 2020
21    Trial                                                  December 8, 2020
22          B.    Preservation of Discoverable Information
23          The Parties have discussed the preservation of discoverable information and do
24   not anticipate any issues or difficulties regarding the preservation and/or production of
25   discoverable information, including electronically stored information (“ESI”). The
26   Parties anticipate entering into an ESI Protocol. To the extent any such issues arise
27   relating to preservation, discovery, or ESI, the Parties will meet and confer to resolve
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 1   those issues.
 2         C.        Protective Order and Privilege Issues
 3         The Parties have agreed in principle to enter into a stipulated protective order to
 4   protect any confidential, proprietary, or other potentially sensitive information that may
 5   be appropriate to produce in discovery. It is Plaintiffs’ position that a single-tier
 6   protective order, without an “Attorneys’ Eyes Only” provision, is appropriate in this
 7   case. It is U.S. Soccer’s position that a double-tier protective order, with an “Attorneys’
 8   Eyes Only” provision is appropriate in this case.
 9         The Parties do not anticipate any unusual privilege or protection issues, but if any
10   issues arise, the Parties have agreed to meet and confer to resolve those issues.
11         D.        Subjects for Discovery
12         Plaintiffs expect to propound discovery, including requests for production,
13   deposition notices, interrogatories, and requests for admission, on at least the following
14   subjects: U.S. Soccer’s discriminatory practices; U.S. Soccer’s marketing,
15   sponsorships, financials, compensation to members of the USWNT in comparison to
16   compensation to members of the USMNT; the economic value of the USWNT
17   broadcasting rights in comparison to the economic value of the USMNT broadcasting
18   rights; U.S. Soccer’s employment practices; U.S. Soccer’s agreements with sponsors,
19   media partners, and licensors; U.S. Soccer’s collective bargaining negotiations relating
20   to the USWNT and USMNT; and responsibilities of USWNT and USMNT players.
21         Defendant expects to propound discovery, including requests for production,
22   deposition notices, interrogatories, and requests for admission, on at least the following
23   subjects: communications related to the parties’ negotiation of the USWNT collective
24   bargaining agreements; Plaintiffs’ communications related to their claims and this
25   lawsuit; Plaintiffs’ performance of work for Defendant and the terms and conditions of
26   that work; compensation earned by Plaintiffs; and discovery related to Defendant’s
27   affirmative defenses.
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 1           E.      Initial Disclosures
 2           The Parties have agreed to exchange initial disclosures on August 19, 2019.
 3           F.      Phases of Discovery
 4           The Parties do not expect that it will be necessary to conduct discovery in phases.
 5           G.      Limitations on Discovery
 6           The Parties do not believe that there is any need to deviate from the limitations
 7   on discovery imposed by the Federal Rules of Civil Procedure and the Local Rules of
 8   this Court.
 9           H.      Other Orders
10           The Parties have agreed to serve discovery requests and responses by email. For
11   Plaintiffs, discovery requests and responses should be served by email on the following
12   email         addresses:              jkessler@winston.com;        cspangler@winston.com;
13   dfeher@winston.com;             dhleiden@winston.com;             jparsigian@winston.com;
14   ltsukerman@winston.com; DocketLA@winston.com.                    For Defendant, discovery
15   requests and responses should be served by email on the following email addresses:
16   emclaughlin@seyfarth.com;              cluce@seyfarth.com;         kmpeters@seyfarth.com.
17   Discovery requests and responses must be served no later than 5:00 p.m. Pacific in order
18   to be considered served on that day. The Parties shall not serve discovery requests on
19   weekends or holidays.
20   IV.     ADR Selection
21           The Parties preferred ADR procedure under Local Rule 16-15.4 is to participate
22   in a private dispute resolution proceeding. The Parties have agreed to and scheduled a
23   private mediation of this matter, which will occur before the August 19, 2019
24   scheduling conference in this matter.
25   V.      Trial
26           A preliminary estimate of the time required for trial is two to four weeks.
27   Plaintiffs have demanded a jury trial.
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 1   VI.   Additional Parties
 2         Plaintiffs are seeking to certify a class and collective action.
 3   VII. Complex Litigation
 4         The Parties agree that this matter should not be governed by the procedures of
 5   the federal Manual for Complex Litigation.
 6   Dated: August 9, 2019                   WINSTON & STRAWN LLP
 7                                           By: /s/ Diana Hughes Leiden 1
                                                 Jeffrey L. Kessler
 8                                               David G. Feher
                                                 Cardelle B. Spangler
 9                                               Diana Hughes Leiden
                                                 Jeanifer E. Parsigian
10
                                                  Attorneys for Plaintiffs
11
     Dated: August 9, 2019                   SEYFARTH SHAW LLP
12
                                             By: /s/ Ellen E. McLaughlin
13                                               Ellen E. McLaughlin
                                                 Cheryl A. Luce
14                                               Kristen M. Peters
15                                                Attorneys for Defendant
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27   1
      I, Diana Hughes Leiden, attest that all other signatories listed, and on whose behalf
28   this filing is submitted, concur in the filing’s content and have authorized the filing.
                                                  7
                                      JOINT RULE 26(f) REPORT
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